Case 22-10875-mdc       Doc 23    Filed 05/23/22 Entered 05/23/22 16:24:03         Desc Main
                                  Document Page 1 of 1



                        UNITED STATES BANKRUPTCY COURT
                        EASTERN DISTRICT OF PENNSYLVANIA


In re                                           :    Chapter   7

                                                :
Dennis Hollins
                                                :

                      Debtor                    :    Bankruptcy No. 22-10875MDC


                                            ORDER


              AND NOW, it is ORDERED that since the debtor(s) have failed to
timely file the documents required by the order dated 4/5/22 and an Order extending time
until 5/19/22, this case is hereby DISMISSED.




  May 23, 2022


                                                     Magdeline D. Coleman
                                                     Chief U.S. Bankruptcy Judge



Missing Documents:

Disclosure Statement
Schedules A/B, D,E/F,G,H,I,J
Statement of Financial Affairs
Summary of Assets and Liabilities Form B106
Chapter 7 Means Test Form 122A!1
Means Test Calculation Form 122A!2 ! If Applicable
